Centralized CM/ECF LIVE - U.S. District Court:txwd                          Page 1 of 2
         Case 4:17-cr-00431 Document 3-2 Filed in TXSD on 06/28/17 Page 1 of 2


                                                                                         CLOSED

                           U.S. District Court [LIVE]
                        Western District of Texas (Austin)
                CRIMINAL DOCKET FOR CASE #: 1:17-mj-00413-ML-1


Case title: USA v. Lynch                                  Date Filed: 06/19/2017
Other court case number: 4:17-m-1022 Southern District of Date Terminated: 06/22/2017
                         Texas, Houston Division

Assigned to: Judge Mark Lane

Defendant (1)
Stephen P. Lynch
TERMINATED: 06/22/2017

Pending Counts                          Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                       Disposition
None

Highest Offense Level (Terminated)
None

Complaints                              Disposition
18 U.S.C. 2251(a) and (e) - Criminal
                                        Commitment Order to the Southern District of Texas,
Complaint from SD/TX Houston
                                        Houston Division
Division


Plaintiff
USA                                         represented by Matthew B. Devlin
                                                           Assistant United States Attorney
                                                           816 Congress Avenue
                                                           Suite 1000
                                                           Austin, TX 78701
                                                           (512) 916-5858
                                                           Fax: (512) 370-1292




https://ecf.txwd.uscourts.gov/cgi-bin/DktRpt.pl?119294238086859-L_1_0-1                  6/29/2017
Centralized CM/ECF LIVE - U.S. District Court:txwd                          Page 2 of 2
         Case 4:17-cr-00431 Document 3-2 Filed in TXSD on 06/28/17 Page 2 of 2


                                                                 Email: matt.devlin@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED


 Date Filed      # Docket Text
 06/19/2017     1   Arrest (Rule 5) of Stephen P. Lynch. (jmw) (Entered: 06/19/2017)
 06/20/2017     2   MOTION to Detain Defendant without Bond by USA as to Stephen P. Lynch.
                    (Devlin, Matthew) (Entered: 06/20/2017)
 06/20/2017     3   Minute Entry for proceedings held before Judge Mark Lane:Initial Appearance
                    in Rule 5(c)(3) Proceedings as to Stephen P. Lynch held on 6/20/2017 (Minute
                    entry documents are not available electronically.) (Court Reporter ERO.) (jmw)
                    (Entered: 06/20/2017)
 06/20/2017     4   ORDER OF TEMPORARY DETENTION: as to Stephen P. Lynch (Identity,
                    Preliminary, Detention Hearing set for 6/22/2017 02:30 PM before Judge Mark
                    Lane). Signed by Judge Mark Lane. (jmw) (Entered: 06/20/2017)
 06/22/2017     5   Minute Entry for proceedings held before Judge Mark Lane: Attorney Status
                    Hearing as to Stephen P. Lynch held on 6/22/2017 (Minute entry documents are
                    not available electronically.) (Court Reporter FTR Gold - ERO.) (kkc) (Entered:
                    06/23/2017)
 06/22/2017     6   WAIVER - Rule 5 as to Stephen P. Lynch. (kkc) (Entered: 06/23/2017)
 06/22/2017     7   COMMITMENT TO ANOTHER DISTRICT as to Stephen P. Lynch. Defendant
                    committed to the Southern District of Texas, Houston Division. Signed by Judge
                    Mark Lane. (kkc) (Entered: 06/23/2017)
 06/23/2017     8   Rule 5 Transmittal Letter as to Stephen P. Lynch sent to the Southern District of
                    Texas, Houston Division. (kkc) (Entered: 06/23/2017)



                                        PACER Service Center
                                          Transaction Receipt
                                           06/29/2017 14:41:38
                    PACER
                                   us0288:2650724:0 Client Code:
                    Login:
                                                    Search          1:17-mj-00413-
                    Description:   Docket Report
                                                    Criteria:       ML
                    Billable Pages: 1               Cost:           0.10




https://ecf.txwd.uscourts.gov/cgi-bin/DktRpt.pl?119294238086859-L_1_0-1                         6/29/2017
